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      Attorney(s) for Digital Verification Systems, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9

 10
       DIGITAL VERIFICATION
       SYSTEMS, LLC,                                 CASE NO. 5:22-cv-00686
 11
                          Plaintiff,                 COMPLAINT FOR PATENT
 12
       v.                                            INFRINGEMENT
 13

 14    ENCYRO, INC.,                                 DEMAND FOR JURY TRIAL

 15                       Defendant.
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 17
            Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files
 18
      this Complaint against Encyro, Inc. (“Defendant” and/or “ENCYRO”) for
 19
      infringement of United States Patent No. 9,054,860 (hereinafter “the ‘860 Patent”).
 20
                               PARTIES AND JURISDICTION
 21
            1.     This is an action for patent infringement under Title 35 of the United
 22
      States Code. Plaintiff is seeking injunctive relief as well as damages.
 23
            2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
 24
      (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
 25
      infringement arising under the United States patent statutes.
 26
            3.     Plaintiff is a Texas limited liability company located at 1 East Broward
 27
      Boulevard, Suite 700, Fort Lauderdale, FL 33301.
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  1          4.     On information and belief, Defendant is a California corporation with its
  2   principal office located at, 420 N McKinley St, Ste 111-419, Corona, CA 92879. On
  3   information and belief, Defendant may be served at its principal office.
  4          5.     On information and belief, this Court has personal jurisdiction over
  5   Defendant because Defendant has committed, and continues to commit, acts of
  6   infringement in this District, has conducted business in this District, and/or has
  7   engaged in continuous and systematic activities in this District.
  8          6.     On information and belief, Defendant’s instrumentalities that are alleged
  9   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
 10   in this District.
 11                                           VENUE
 12          7.     On information and belief, the venue is proper in this District under 28
 13   U.S.C. § 1400(b) because Defendant is deemed to reside in this District. Alternatively,
 14   acts of infringement are occurring in this District, and Defendant has a regular and
 15   established place of business in this District.
 16                                          COUNT I
 17         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)
 18          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
 19          9.     This cause of action arises under the patent laws of the United States
 20   and, in particular, under 35 U.S.C. §§ 271, et seq.
 21          10.    Plaintiff is the owner by assignment of the ‘860 Patent with sole rights
 22   to enforce the ‘860 Patent and sue infringers.
 23          11.    A copy of the ‘860 Patent, titled “Digital Verified Identification System
 24   and Method,” is attached hereto as Exhibit A.
 25          12.    The ‘860 Patent is valid, enforceable, and was duly issued in full
 26   compliance with Title 35 of the United States Code.
 27          13.    Upon information and belief, Defendant has infringed and continues to
 28   infringe one or more claims, including at least Claim 1, of the ‘860 Patent by making,
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  1   using (at least by having its employees, or someone under Defendant's control, test
  2   the accused Product), importing, selling, and/or offering for sale associated hardware
  3   and/or software for digital signature services (e.g., Encyro E-Sign), and any similar
  4   products and/or services (“Product”) covered by at least Claim 1 of the ‘860 Patent.
  5   Defendant has infringed and continues to infringe the ‘860 patent either directly or
  6   through acts of contributory infringement or inducement in violation of 35 U.S.C. §
  7   271.
  8          14.   The Product provides a system for e-signing digital documents. The
  9   Product provides for digitally verifying the identification of a signer. Certain aspects
 10   of this element are illustrated in the screenshot(s) below and/or in those provided in
 11   connection with other allegations herein.
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 10         15.    The Product includes at least one digital identification module structured
 11   to be associated with at least one entity. For example, the Product provides a module
 12   (e.g., the creation of an e-signature module for a user) to be associated with at least
 13   one entity (i.e., a user who needs to create an e-signature). Certain aspects of this
 14   element are illustrated in the screenshot(s) below and/or in those provided in
 15   connection with other allegations herein.
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            16.    The Product includes a module generating assembly structured to receive
 10
      at least one verification data element corresponding to at least one entity and create
 11
      said at least one digital identification module. For example, the Product includes a
 12
      module generating assembly structured to receive at least one verification data
 13
      element corresponding to at least one entity (e.g., a user has a unique login ID and
 14
      password for accessing and verifying the account for e-signing the documents). The
 15
      module generating assembly is also structured to create at least one digital
 16
      identification module (e.g., creating an e-signature of a user). Certain aspects of this
 17
      element are illustrated in the screenshot(s) below and/or in those provided in
 18
      connection with other allegations herein.
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  1         17.    at least one digital identification module is disposable within at least one
  2   electronic file. (e.g., a user can store the e-signature within a document such as a “Bill
  3   of Landing” or in a PDF, Word doc, image file, etc.). Certain aspects of this element
  4   are illustrated in the screenshot(s) below and/or in those provided in connection with
  5   other allegations herein.
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            18.    At least one digital identification module includes at least one primary
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      component structured to associate the digital identification module at least partially
 23
      with at least one entity. For example, an e-signature of a user is associated with user
 24
      information including username, date, etc. to associate the digital identification
 25
      module at least partially with at least one entity (e.g., an e-signature is associated with
 26
      a user). Certain aspects of this element are illustrated in the screenshot(s) below
 27
      and/or in those provided in connection with other allegations herein.
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            19.    At least one digital identification module is cooperatively structured to
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      be embedded within only a single electronic file. For example, the module (e-
 24
      signature) is stored within a single file (such as a PDF, Word doc, or image file, etc.).
 25
      Certain aspects of this element are illustrated in the screenshot(s) below and/or in
 26
      those provided in connection with other allegations herein.
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  16         20.    Defendant’s actions complained of herein will continue unless
  17   Defendant is enjoined by this court.
  18         21.    Defendant’s actions complained of herein are causing irreparable harm
  19   and monetary damage to Plaintiff and will continue to do so unless and until
  20   Defendant is enjoined and restrained by this Court.
  21         22.    Plaintiff is in compliance with 35 U.S.C. § 287.
  22                                PRAYER FOR RELIEF
  23         WHEREFORE, Plaintiff asks the Court to:
  24         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
  25   asserted herein;
  26         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
  27   employees, attorneys, and all persons in active concert or participation with Defendant
  28   who receive notice of the order from further infringement of United States Patent No.
                                                11
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   1   9,054,860 (or, in the alternative, awarding Plaintiff a running royalty from the time of
   2   judgment going forward);
   3          (c)    Award Plaintiff damages resulting from Defendant’s infringement in
   4   accordance with 35 U.S.C. § 284;
   5          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
   6          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
   7   entitled under law or equity.
   8                                       JURY DEMAND
   9          Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully
  10   requests a trial by jury on all issues so triable.
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  12   Dated: April 21, 2022                     Respectfully submitted,
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                                                 /s/Stephen M. Lobbin
  14                                             Attorney(s) for Plaintiff
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